19-08351-rdd         Doc 1       Filed 11/07/19       Entered 11/07/19 13:52:15             Main Document
                                                     Pg 1 of 11


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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


                                                                Chapter 11
    In re:

    Sears Holdings Corporation, et al.,1                        Case No. 18-23538-RDD

                                                   Debtors.
                                                                (Jointly Administered)
    Kmart Holding Corporation,
                                                   Plaintiff,
    v.
                                                                Adv. No. Refer to Summons
    Post Gardens of Battle Creek, Inc.,
                                                 Defendant.



1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are as follows: Sears Holdings Corporation (0798); Kmart Holding Corporation (3116); Kmart Operations
LLC (6546); Sears Operations LLC (4331); Sears, Roebuck and Co. (0680); ServiceLive Inc. (6774); SHC Licensed
Business LLC (3718); A&E Factory Service, LLC (6695); A&E Home Delivery, LLC (0205); A&E Lawn & Garden,
LLC (5028); A&E Signature Service, LLC (0204); FBA Holdings Inc. (6537); Innovel Solutions, Inc. (7180); Kmart
Corporation (9500); MaxServ, Inc. (7626); Private Brands, Ltd. (4022); Sears Development Co. (6028); Sears
Holdings Management Corporation (2148); Sears Home & Business Franchises, Inc. (6742); Sears Home
Improvement Products, Inc. (8591); Sears Insurance Services, L.L.C. (7182); Sears Procurement Services, Inc. (2859);
Sears Protection Company (1250); Sears Protection Company (PR) Inc. (4861); Sears Roebuck Acceptance Corp.
(0535); Sears, Roebuck de Puerto Rico, Inc. (3626); SYW Relay LLC (1870); Wally Labs LLC (None); SHC
Promotions LLC (9626); Big Beaver of Florida Development, LLC (None); California Builder Appliances, Inc.
(6327); Florida Builder Appliances, Inc. (9133); KBL Holding Inc. (1295); KLC, Inc. (0839); Kmart of Michigan,
Inc. (1696); Kmart of Washington LLC (8898); Kmart Stores of Illinois LLC (8897); Kmart Stores of Texas LLC
(8915); MyGofer LLC (5531); Sears Brands Business Unit Corporation (4658); Sears Holdings Publishing Company,
LLC. (5554); Sears Protection Company (Florida), L.L.C. (4239); SHC Desert Springs, LLC (None); SOE, Inc.
(9616); StarWest, LLC (5379); STI Merchandising, Inc. (0188); Troy Coolidge No. 13, LLC (None); BlueLight.com,
Inc. (7034); Sears Brands, L.L.C. (4664); Sears Buying Services, Inc. (6533); Kmart.com LLC (9022); Sears Brands
Management Corporation (5365); and SRe Holding Corporation (4816). The location of the Debtors’ corporate
headquarters is 3333 Beverly Road, Hoffman Estates, Illinois 60179.

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US_141709268v1_392655-00001 10/10/2019 9:51 AM
19-08351-rdd         Doc 1       Filed 11/07/19    Entered 11/07/19 13:52:15      Main Document
                                                  Pg 2 of 11


 COMPLAINT TO AVOID AND RECOVER TRANSFERS PURSUANT TO 11 U.S.C. §§
  547, 548, AND 550 AND TO DISALLOW CLAIMS PURSUANT TO 11 U.S.C. § 502

         Kmart Holding Corporation (the “Plaintiff” or “Debtor”), one of the debtors in the above-

captioned chapter 11 case, by and through its undersigned counsel, files this complaint (the

“Complaint”) to avoid and recover transfers against Post Gardens of Battle Creek, Inc. (the

“Defendant”) and to disallow any claims held by Defendant. In support of this Complaint, Plaintiff

alleges upon information and belief that:

                                           NATURE OF THE CASE

         1.     Plaintiff seeks to avoid and recover from Defendant, or from any other person or

entity for whose benefit the transfers were made, all preferential transfers of property that occurred

during the ninety (90) day period prior to the commencement of the bankruptcy case of the Debtor

pursuant to sections 547 and 550 of chapter 11 of title 11 of the United States Code (the

“Bankruptcy Code”). Subject to proof, Plaintiff also seeks to avoid and recover from Defendant

or any other person or entity for whose benefit transfers were made pursuant to sections 548 and

550 of the Bankruptcy Code any transfers that may have been fraudulent conveyances.

         2.       In addition, Plaintiff seeks to disallow, pursuant to sections 502(d) and (j) of the

 Bankruptcy Code, any claim that Defendant has filed or asserted against the Debtor or that has

 been scheduled for Defendant. Plaintiff does not waive but hereby reserves all of its rights to

 object to any such claim for any reason, including, but not limited to, any reason set forth in

 sections 502(a) through (j) of the Bankruptcy Code.

                                        JURISDICTION AND VENUE

         3.       This court has subject matter jurisdiction over this adversary proceeding, which

 arises under title 11, arises in, and relates to a case under title 11, in the United States Bankruptcy




                                                     2
US_141709268v1_392655-00001 10/10/2019 9:51 AM
19-08351-rdd         Doc 1       Filed 11/07/19    Entered 11/07/19 13:52:15       Main Document
                                                  Pg 3 of 11


 Court for the Southern District of New York (the “Court”), captioned In re Sears Holdings

 Corporation, et al.,, Case No. 18-23538 (RDD), pursuant to 28 U.S.C. §§ 157 and 1334(b).

          4.      The statutory and legal predicates for the relief sought herein are sections 502, 547,

 548, and 550 of the Bankruptcy Code and Rules 3007 and 7001 of the Federal Rules of

 Bankruptcy Procedure (the “Bankruptcy Rules”).

          5.      This adversary proceeding is a “core” proceeding to be heard and determined by

 the Court pursuant to 28 U.S.C. § 157(b)(2). Plaintiff consents to entry of final orders and

 judgment by the Court.

          6.      Venue is proper in this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                                     PROCEDURAL BACKGROUND

          7.      On October 15, 2018 (the “Petition Date”), Sears Holdings Corporation and its

 debtor affiliates (collectively, the “Debtors”) each commenced a case by filing a voluntary

 petition for relief in this Court under chapter 11 of the Bankruptcy Code. The Debtors are

 authorized to continue to operate their business and manage their properties as debtors in

 possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

          8.      The Debtors’ chapter 11 cases are being jointly administered for procedural

 purposes only pursuant to Bankruptcy Rule 1015(b).

          9.      On October 15, 2019, this Court entered an order confirming the Modified Second

 Amended Joint Chapter 11 Plan of Sears Holdings Corporation and Its Affiliated Debtors (the

 “Confirmation Order” and “Plan,” respectively). [Plan, D.I. 5293; Confirmation Order, D.I.

 5370].

          10.     Pursuant to Article III of the Plan and Section V of the Disclosure Statement for

 Modified Second Amended Joint Chapter 11 Plan of Sears Holdings Corporation and Its



                                                     3
US_141709268v1_392655-00001 10/10/2019 9:51 AM
19-08351-rdd         Doc 1       Filed 11/07/19    Entered 11/07/19 13:52:15      Main Document
                                                  Pg 4 of 11


    Affiliated Debtors (the “Disclosure Statement”),2 General Unsecured Claims comprise an

    impaired class of creditors and are not expected to be paid in full.

                                                 THE PARTIES

           11.    The Debtors were an integrated retailer with significant physical and intangible

    assets, as well as virtual capabilities, which operated a national network of stores and websites.

    As of the Petition Date, the Debtors operated 687 retail stores in forty-nine (49) states, Guam,

    Puerto Rico, and the U.S. Virgin Islands under the Sears® and Kmart® brands and employed

    approximately 68,000 individuals, of whom approximately 32,000 were full-time employees and

    approximately 36,000 were part-time employees.

           12.    Pursuant to Bankruptcy Code sections 547, 548, 550, 1106, and 1107, Plaintiff is

    authorized and has standing to pursue this avoidance action.

           13.    Upon information and belief, Defendant was, at all relevant times, a vendor or

    creditor that provided goods and/or services to or for Plaintiff. Upon further information and

    belief, at all relevant times, Defendant’s principal place of business is located at 3055 West

    Michigan Avenue, Battle Creek, Michigan 49017.

                                         FACTUAL BACKGROUND

           14.    Prior to the Petition Date, Plaintiff, as an integrated retailer, maintained business

    relationships with various business entities and individuals, through which Plaintiff regularly

    purchased, sold, received, and/or delivered goods and services.

           15.    The financial difficulties that led to the Debtors’ decision to file the bankruptcy

    cases are attributable to a combination of factors. Namely, declining revenues, unfavorable

    market conditions in the retail industry, and the Debtors’ significant and ongoing cash flow and


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    D.I. 4478.


                                                     4
US_141709268v1_392655-00001 10/10/2019 9:51 AM
19-08351-rdd         Doc 1       Filed 11/07/19    Entered 11/07/19 13:52:15         Main Document
                                                  Pg 5 of 11


 liquidity issues, all of which were exacerbated by a contraction in credit terms over the years and

 the substantial selling, general, and administrative expenses associated with the Debtors’ store

 operations.

         16.      During the ninety (90) days before and including the Petition Date, that is between

 July 17, 2018 and October 15, 2018 (the “Preference Period”), Plaintiff continued to operate its

 business, including the transfer of money, either by checks, cashier checks, wire transfers, ACH

 transfers, direct deposits or otherwise to various entities.

         17.      Upon information and belief, during the course of their relationship, the Defendant

 and Plaintiff entered into agreements for the purchase of goods and/or services by Plaintiff from

 the Defendant, which are evidenced by one or more contracts, purchase orders, invoices,

 communications and other documents (collectively, the “Agreements”). Upon further information

 and belief, the Agreements concerned and related to the goods and/or services provided by

 Defendant to the Plaintiff. The payments to the Defendant in respect of the Agreements during

 the Preference Period are set forth on the Statement of Account, which is attached hereto and

 incorporated by reference as Exhibit A. Such details include “Invoice Number,” “Invoice Date,”

 “Invoice Amount.” and the “Payment Date”.

         18.      Plaintiff is seeking to avoid all of the transfers of an interest of Plaintiff’s property

 made by Plaintiff to Defendant within the Preference Period.

         19.      Plaintiff made transfer(s) of an interest of Plaintiff’s property to or for the benefit

 of Defendant during the Preference Period through payments aggregating not less than the amount

 set forth on Exhibit A hereto (the “Transfer” or “Transfers”). The details of each Transfer are set

 forth on Exhibit A attached hereto and incorporated by reference. Such details include “Check

 Number,” “Check Amount,” “Check Clear Date,” and “Debtor Transferor(s).”



                                                     5
US_141709268v1_392655-00001 10/10/2019 9:51 AM
19-08351-rdd         Doc 1       Filed 11/07/19    Entered 11/07/19 13:52:15       Main Document
                                                  Pg 6 of 11


         20.      During the course of this proceeding, Plaintiff may learn (through discovery or

 otherwise) of additional transfers made to Defendant during the Preference Period or that may be

 avoidable under other provisions of the Bankruptcy Code. It is Plaintiff’s intention to avoid and

 recover all avoidable transfers of property made by the Debtor to or for the benefit of Defendant

 or any other transferee. Plaintiff reserves its right to amend this original Complaint to include: (i)

 further information regarding the Transfer(s), (ii) additional transfers, (iii) modifications of and/or

 revision to Defendant’s name, (iv) additional defendants, and/or (v) additional causes of action,

 if applicable (collectively, the “Amendments”), that may become known to Plaintiff at any time

 during this adversary proceeding, through formal discovery or otherwise, and for the

 Amendments to relate back to this original Complaint.

                                            CLAIMS FOR RELIEF

                                      First Claim for Relief
                   (Avoidance of Preference Period Transfers – 11 U.S.C. § 547)

         21.      Plaintiff incorporates all preceding paragraphs as if fully re-alleged herein.

         22.      During the Preference Period, Plaintiff made Transfers to or for the benefit of

Defendant in an aggregate amount not less than the amount set forth on Exhibit A

hereto.$46,720.00

         23.      Each Transfer was made from the Plaintiff, and constituted transfers of an interest

in property of Plaintiff.

         24.      Defendant was a creditor of Plaintiff at the time of each Transfer by virtue of

supplying goods and/or services to Plaintiff for which Plaintiff was obligated to pay in accordance

with the Agreements. See Exhibit A.




                                                     6
US_141709268v1_392655-00001 10/10/2019 9:51 AM
19-08351-rdd         Doc 1       Filed 11/07/19    Entered 11/07/19 13:52:15       Main Document
                                                  Pg 7 of 11


         25.      Each Transfer was to or for the benefit of a creditor within the meaning of 11 U.S.C.

§ 547(b)(1) because each Transfer either reduced or fully satisfied a debt or debts then owed by

Plaintiff to Defendant. See Exhibit A.

         26.      Each Transfer was made for, or on account of, an antecedent debt or debts owed by

Plaintiff to Defendant before such Transfers were made, as asserted by Defendant and

memorialized in the Agreements, each of which constituted a “debt” or “claim” (as those terms

are defined in the Bankruptcy Code) of Defendant prior to being paid by the Plaintiff. See Exhibit

A.

         27.      Each Transfer was made while the Plaintiff was insolvent. Plaintiff is entitled to the

presumption of insolvency for each Transfer made during the Preference Period pursuant to 11

U.S.C. § 547(f).

         28.      Each Transfer was made during the Preference Period, as set forth on Exhibit A.

         29.      As a result of each Transfer, Defendant received more than Defendant would have

received if: (i) Plaintiff’s bankruptcy case was a case under chapter 7 of the Bankruptcy Code; (ii)

the Transfers had not been made; and (iii) Defendant received payments of its debts under the

provisions of the Bankruptcy Code. As evidenced by Plaintiff’s schedules filed in the underlying

bankruptcy case as well as the proofs of claim that have been received to date, the Plan, the

Confirmation Order, and the Disclosure Statement, the Plaintiff’s liabilities exceed its assets such

that Plaintiff’s unsecured creditors will not receive payment of their claims in full from the

Plaintiff’s bankruptcy estate.

         30.      In accordance with the foregoing, each Transfer is avoidable pursuant to 11 U.S.C.

§ 547(b).




                                                     7
US_141709268v1_392655-00001 10/10/2019 9:51 AM
19-08351-rdd           Doc 1     Filed 11/07/19    Entered 11/07/19 13:52:15        Main Document
                                                  Pg 8 of 11


                                   Second Claim for Relief
                (Avoidance of Fraudulent Conveyances – 11 U.S.C. § 548(a)(1)(B))

          31.     Plaintiff hereby incorporates all previous allegations as though fully set forth

herein.

          32.     To the extent one or more of the Transfers identified on Exhibit A was not made

on account of an antecedent debt, or was a prepayment for goods and/or services subsequently

received, Plaintiff pleads in the alternative that Plaintiff did not receive reasonably equivalent

value in exchange for such transfer(s) (the “Potentially Fraudulent Transfers”); and

                  A.       Plaintiff was insolvent as of the date of the Transfer(s), or became insolvent

                           as a result of the Transfer(s); or

                  B.       Plaintiff was engaged, or about to engage, in business or a transaction for

                           which any property remaining with Plaintiff or for whose benefit the

                           Transfer(s) was made was an unreasonably small capital; or

                  C.       Plaintiff intended to incur, or believed it would incur, debts beyond its

                           ability to pay upon maturity.

          33.     Based upon the foregoing, the Potentially Fraudulent Transfers are avoidable

pursuant to 11 U.S.C. § 548(a)(1)(B).

                                        Third Claim for Relief
                           (Recovery of Avoided Transfers – 11 U.S.C. § 550)

          34.     Plaintiff incorporates all preceding paragraphs as if fully re-alleged herein, to the

extent they are not inconsistent with allegations contained in this Third Claim for Relief.

          35.     Plaintiff is entitled to avoid the Transfer(s) pursuant to 11 U.S.C. § 547(b) and/or

any Potentially Fraudulent Transfers pursuant to 11 U.S.C. § 548 (collectively, the “Avoidable

Transfers”).



                                                      8
US_141709268v1_392655-00001 10/10/2019 9:51 AM
19-08351-rdd         Doc 1       Filed 11/07/19    Entered 11/07/19 13:52:15       Main Document
                                                  Pg 9 of 11


         36.      Defendant was the initial transferee of the Avoidable Transfer(s) or the immediate

or mediate transferee of such initial transferee or the person for whose benefit the Avoidable

Transfer(s) were made.

         37.      Pursuant to 11 U.S.C.§ 550(a), Plaintiff is entitled to recover from Defendant the

Avoidable Transfer(s), plus interest thereon to the date of payment and the costs of this action.

                                      Fourth Claim for Relief
                       (Disallowance of all Claims – 11 U.S.C. § 502(d) and (j))

         38.      Plaintiff incorporates all preceding paragraphs as if fully re-alleged herein.

         39.      Defendant is a transferee of transfers avoidable under sections 547 and/or 548 of

the Bankruptcy Code, which property is recoverable under section 550 of the Bankruptcy Code.

         40.      Defendant has not paid the amount of the Avoidable Transfer(s), or turned over

such property, for which Defendant is liable under 11 U.S.C. § 550.

         41.      Pursuant to 11 U.S.C. § 502(d), any and all Claims of Defendant and/or its assignee,

against the Debtor’s chapter 11 estate or Plaintiff must be disallowed until such time as Defendant

pays to Plaintiff an amount equal to the aggregate amount of the Avoidable Transfer(s), plus

interest thereon and costs.

         42.      Pursuant to 11 U.S.C. § 502(j), any and all Claims of Defendant, and/or its assignee,

against the Debtor’s chapter 11 estate or Plaintiff previously allowed by Debtor or by Plaintiff,

must be reconsidered and disallowed until such time as Defendant pays to Plaintiff an amount

equal to the aggregate amount of the Avoidable Transfer(s).

                                            PRAYER FOR RELIEF

         WHEREFORE, Plaintiff requests that this Court grant it the following relief against

Defendant:




                                                     9
US_141709268v1_392655-00001 10/10/2019 9:51 AM
19-08351-rdd         Doc 1       Filed 11/07/19     Entered 11/07/19 13:52:15      Main Document
                                                   Pg 10 of 11


             A. On Plaintiff’s First, Second, and Third Claims for Relief, judgment in favor of

                  Plaintiff and against Defendant, avoiding all of the Avoidable Transfers and

                  directing Defendant to return to Plaintiff the amount of the Avoidable Transfers,

                  pursuant to 11 U.S.C. §§ 547(b), 548, and 550(a), plus interest from the date of

                  demand at the maximum legal rate and to the fullest extent allowed by applicable

                  law, together with the costs and expenses of this action including, without

                  limitation, attorneys’ fees;

             B. On Plaintiff’s Fourth Claim for Relief, judgment in favor of Plaintiff and against

                  Defendant disallowing any claims held or filed by Defendant against the Plaintiff

                  until Defendant returns the Avoidable Transfers to Plaintiff pursuant to 11 U.S.C.

                  § 502(d) and (j); and

             C. Such other and further relief as this Court may deem just and proper.


Dated: November 7, 2019
                                                 ASK LLP

                                                 By: /s/ Edward E. Neiger_________
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                                                 -and-




                                                         10
US_141709268v1_392655-00001 10/10/2019 9:51 AM
19-08351-rdd         Doc 1       Filed 11/07/19     Entered 11/07/19 13:52:15    Main Document
                                                   Pg 11 of 11


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                                                        11
US_141709268v1_392655-00001 10/10/2019 9:51 AM
